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                       Exhibit A
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Jerad Najvar

From:                John Paredes <john.paredes@protectdemocracy.org>
Sent:                Wednesday, January 26, 2022 5:00 PM
To:                  Jerad Najvar
Cc:                  Richard Thompson; Francisco R. Canseco; hannahceh2001@gmail.com; Tayer, Madeleine; Gottlieb,
                     Michael; Emma Hilbert; Meyer, Robert; Governski, Meryl Conant; Hall, Samuel; Suriani, JoAnna
Subject:             Re: Cervini v. Cisneros, 21 Civ. 565 (RP) (W.D. Tex)


Jerad,

Thank you for your response. We understand your position, but it appears we are at an impasse regarding the
appropriate confidentiality and protective order to enter in this case. We will go ahead and file our motion for a
protective order this evening.

My best,
John

On Wed, Jan 26, 2022 at 11:41 AM Jerad Najvar <jerad@najvarlaw.com> wrote:

 John,



 I have been reviewing the proposed order again, and it is clearly not attuned to a case like this, which further
 reflects that while it’s the “default” protective order when parties want and agree to one, it’s tailored for the
 kinds of cases that often involve such orders, like business disputes with sensitive information. Thus, the
 language of the order is ill‐suited to this case, which raises more questions than it answers. For one example,
 when setting out what kinds of information and documents that may be designated as Classified Information,
 the list of identified things is all tailored to business disputes, and then it continues to include “other sensitive
 information that … may subject the producing or disclosing person to competitive or financial injury or
 harassment or potential legal liability to third parties.” This seems clearly written with business disputes in
 mind, and leaves entirely unclear what types of information you expect to be necessary to protect in this
 case. It also allows “correspondence or other communications between the parties or with nonparties” to be
 designated as Classified Information “if … made with the understanding or reasonable expectation that the
 information would not become generally available to the public.” This would seem to allow the designation
 of communications that the Ps may have had with other political operatives, with law enforcement (or, really
 anyone at all), even if it is bereft of any actual sensitive information.



 The order has many other problems from my perspective, both substantive and procedural, which are ill‐
 suited to this kind of case and unnecessary, and, as Richard has said, will only create more fodder for
 ambiguities and disagreements and incur counsel time.




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In short, instead of incurring substantial time trying to redline a proposed protective order that seems
excessive and ill‐suited for this type of dispute, what I have suggested may be appropriate is a simple order
protecting the confidentiality of sensitive information as enumerated in FRCP 5.2 (SS and Tax ID numbers;
financial acct numbers; birth date; minor names). If you have concerns about other specific types of
information that may warrant protection in this case, then it would be helpful to identify such categories if
we are going to try to hammer out a protective order. As it is, I’m just guessing as to what you may have in
mind.



While it’s true an order was entered in Richardson, that makes sense, because Richardson is a challenge to
mail ballot signature match requirements, involving the discovery of lots of mail ballot applications and voter
registration applications from non‐party voters, which contain the kind of classic sensitive information I am
referring to.



Jerad Najvar

281.404.4696




From: John Paredes <john.paredes@protectdemocracy.org>
Sent: Monday, January 24, 2022 5:53 PM
To: Jerad Najvar <jerad@najvarlaw.com>
Cc: Richard Thompson <rthompson@thomasmore.org>; Francisco R. Canseco <frcanseco@gmail.com>;
hannahceh2001@gmail.com; Tayer, Madeleine <MTayer@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>;
Emma Hilbert <emma@texascivilrightsproject.org>; Meyer, Robert <rmeyer@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; Hall, Samuel <SHall@willkie.com>; Suriani, JoAnna <JSuriani@willkie.com>
Subject: Re: Cervini v. Cisneros, 21 Civ. 565 (RP) (W.D. Tex)



Jerad,



Our position is still that the default protective order–which the Court entered in Stapp, the related case–is the
most appropriate option here, but we are willing to consider a reasonable edit to that protective order.



We believe the entry of a protective order is an urgent matter. Hence, we plan on moving for the default order
by end of day Wednesday, but will consider a redline before then. Please let us know by tomorrow morning if
you intend to provide one for the parties’ consideration.



As to the remainder of your email, we disagree with your characterizations but do not think it productive to
address them now, and we reserve all rights.
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Sincerely,
John




On Mon, Jan 24, 2022 at 2:43 PM Jerad Najvar <jerad@najvarlaw.com> wrote:

 John,



 I’ll agree to propose a limited protective order. But it would be very narrow, encompassing only the kinds of
 things I’ve referred to in my emails (personal addresses and phone numbers, and certain types of financial
 and medical info that is either already protected by law or that we would agree to consider confidential,
 which would not include anything that my clients have an interest in discussing in ways that rebut the
 Plaintiffs’ claims.) While I understand your concerns re harassment, I hope the Plaintiffs understand that
 that is a two‐way street, and these allegations in the lawsuit have resulted, and continue to result in,
 harassment against the Defendants. So I will not propose any agreement that concedes my ability to rebut
 allegations or claims of damages that the Plaintiffs have made. The Plaintiffs have been quite public in their
 allegations, which we view as very unfair and sensationalized, and it seems that a broad protective order
 would serve only the interests of the Defendants in preventing the discussion of information that undercuts
 their claims and demands.



 Jerad Najvar

 281.404.4696




 From: John Paredes <john.paredes@protectdemocracy.org>
 Sent: Monday, January 24, 2022 2:15 PM
 To: Richard Thompson <rthompson@thomasmore.org>
 Cc: Francisco R. Canseco <frcanseco@gmail.com>; Jerad Najvar <jerad@najvarlaw.com>; hannahceh2001@gmail.com;
 Tayer, Madeleine <MTayer@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Emma Hilbert
 <emma@texascivilrightsproject.org>; Meyer, Robert <rmeyer@willkie.com>; Governski, Meryl Conant
 <MGovernski@willkie.com>; Hall, Samuel <SHall@willkie.com>; Suriani, JoAnna <JSuriani@willkie.com>
 Subject: Re: Cervini v. Cisneros, 21 Civ. 565 (RP) (W.D. Tex)



 Jerad and Dick,

 Thank you for your responses. We disagree with your assertions about the appropriateness of entering the
 Court’s standard protective order in this case. It is clear that the Court’s standard orders are appropriate in

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cases beyond those involving trade secrets or commercial disputes. For instance, the Court has entered a
substantially similar order in the related case, Stapp, as it has in other non-commercial civil litigation, see,
e.g., Richardson et al. v. Tex. Sec. of State et al., 5:19-cv-00963-OLG (W.D. Tex.).

The Court’s standard order is well suited to this case. As you know, the Court’s standard orders do not
enable parties’ to designate any document as confidential. Instead, any document a party seeks to designate
as confidential must meet the order’s “Designation Criteria,” which limits information that can be designated
as “Classified Information,” “For Counsel or Attorneys Only,” or “Ultrasensitive Information,” and specifically
exempts certain “Non-Classified Information” from being designated as confidential. See, e.g., Appendix H-2
at § 3. The standard orders also create a mechanism by which parties can challenge the designation of any
stamped documents without seeking court intervention—it requires parties to negotiate in good faith over any
documents in dispute, and object in writing if any dispute cannot be resolved, before seeking court
intervention. See, e.g., Appendix H-2 at § 11. It continues to be our position that this case calls for
confidentiality protections like those provided by default in the Local Rules, given the harassment that certain
parties have already experienced to date related to this litigation.

Moreover, using the Court’s standard order is also the least burdensome and most cost effective approach
for the parties—and most efficient for judicial economy. It is much more efficient to jointly stipulate to one of
the Court’s standard orders, rather than to reinvent the wheel.

That said, if you want to redline the Court’s standard order with some additional suggestions in order to
reach agreement on this issue, we are willing to consider a more narrowed protective order.

By 5pm CT today, can you please advise us whether you will agree to provide us a more limited proposed
order by Wednesday, January 26, 2022 that you would be willing to enter as a jointly stipulated protective
order? We hope to reach agreement on this issue, although we continue to reserve all right to move the
Court to enter its standard protective order.

Sincerely,



John



On Mon, Jan 24, 2022 at 9:29 AM Richard Thompson <rthompson@thomasmore.org> wrote:

 John,



 For the reasons I stated earlier, on behalf of defendant Park, I cannot stipulate to a joint entry of the standard
 protective order which I believe could lead to more disputes than if we agree on specific matters the parties
 want to be kept confidential.



 Regards,



 Dick
                                                        4
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Richard Thompson, President and Chief Counsel

Thomas More Law Center

24 Frank Lloyd Wright Drive, Suite J 3200

Ann Arbor, MI 48106

Office: 734.827.2001

Fax:   734.930.7160




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From: John Paredes <john.paredes@protectdemocracy.org>
Sent: Friday, January 21, 2022 4:51 PM
To: Francisco R. Canseco <frcanseco@gmail.com>
Cc: Richard Thompson <rthompson@thomasmore.org>; Jerad Najvar <jerad@najvarlaw.com>;
hannahceh2001@gmail.com; Tayer, Madeleine <MTayer@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>;
Emma Hilbert <emma@texascivilrightsproject.org>; Meyer, Robert <rmeyer@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; Hall, Samuel <SHall@willkie.com>; Suriani, JoAnna <JSuriani@willkie.com>
Subject: Re: Cervini v. Cisneros, 21 Civ. 565 (RP) (W.D. Tex)



Counsel,

Plaintiffs would like to request that the parties reconsider the joint entry of the Court’s standard protective order to
govern discovery in this case. As we have previously stated, we anticipate that discovery will entail the exchange of
sensitive and personal identifiable information, such as personal phone numbers, residential addresses, and certain
medical and financial information. It is routine in the Western District of Texas to enter one of the Court’s standard
protective orders, listed at Appendices H‐1 and H‐2 of the Local Rules, which we have entered in the related case,
Stapp.

We believe it is to the benefit of all parties and more efficient for the Court to put in place the Court’s standard
mechanism to protect such sensitive information at the start of discovery in this case, rather than relying on future
motion practice as to individual documents. Given the harassment that our clients and certain witnesses have
already experienced to date related to this litigation, we intend to move the Court to enter a protective order on
Monday, January 24, if we are not able to reach agreement, though we would strongly prefer to file a protective
order stipulated to by all parties.

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Please advise us by 5pm CT on Monday, January 24 if you will reconsider our proposal to jointly enter a protective
order in this case.

Sincerely,



John




On Mon, Jan 10, 2022 at 2:44 PM Francisco R. Canseco <frcanseco@gmail.com> wrote:

 John,

 I join attorneys Richard Thompson and Jerad Najvar in no consent to the attached protective order you propose to
 offer the court. My reasons are consistent with theirs.

 Thank you

 Attorney for Eliazar Cisneros, Defendent

 Quico

 Francisco R. Canseco

 Attorney at Law

 Former Member of Congress

 19 Jackson Court

 San Antonio, Texas 78230

 210.901.4279

 frcanseco@gmail.com



         On Jan 10, 2022, at 4:25 PM, Richard Thompson <rthompson@thomasmore.org> wrote:




         John,



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On behalf of Defendant Dolores Park, I will not consent to the attached protective order for
the reasons set forth in Jerard Najvar’s earlier letter to you on this date. Additionally, the
ambiguous language of the attached protective order will increase the areas of contention
that will lengthen the discovery process.



With respect,



Dick



Richard Thompson, President and Chief Counsel

Thomas More Law Center

24 Frank Lloyd Wright Drive, Suite J 3200

Ann Arbor, MI 48106

Office: 734.827.2001

Fax:    734.930.7160




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mail, or call 734-827- 2001, and delete the original message and all copies from your system.
Thank you.



From: John Paredes <john.paredes@protectdemocracy.org>
Sent: Friday, January 7, 2022 4:33 PM
To: Francisco R. Canseco <frcanseco@gmail.com>; Jerad Najvar <jerad@najvarlaw.com>; Richard
Thompson <rthompson@thomasmore.org>; hannahceh2001@gmail.com
Cc: Tayer, Madeleine <mtayer@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Emma
Hilbert <emma@texascivilrightsproject.org>
Subject: Cervini v. Cisneros, 21 Civ. 565 (RP) (W.D. Tex)



Good afternoon, all.

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           Plaintiffs anticipate that discovery in this case (including initial disclosures, which are due
           this coming Tuesday, January 11, 2022) will entail the exchange of sensitive
           information. Thus, we propose to enter the standard protective order used in the Western
           District of Texas, which we also entered in the related case, Stapp (see attached). Please
           let us know as soon as possible whether you consent to filing a motion to enter the district’s
           standard protective order in our case. We hope to file this on Monday, January 10, 2022, in
           advance of exchanging initial disclosures.

           Thanks, and have a great weekend.



           John



           ‐‐

           John Paredes

           Counsel

           Protect Democracy

           (203) 928‐7623

           john.paredes@protectdemocracy.org




 ‐‐

 John Paredes

 Counsel

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